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         UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF FLORIDA
                               MIAMI DIVISION
                           CASE NO.: 1:24-cv-21136-JB

 TUSHBABY, INC.,
 Plaintiff,
 v.
 THE INDIVIDUALS, PARTNERSHIPS
 AND UNINCORPORATED
 ASSOCIATIONS IDENTIFIED ON
 SCHEDULE “A,”
 Defendants.
 ________________________________________/

             RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION FOR TRO

          Defendant Fleerose, by and through its undersigned counsel, hereby responds in opposi-

 tion to Plaintiff’s Motion for TRO [DE 9] and Motion to Extend TRO [DE 18] and states as fol-

 lows:

                                         LEGAL STARDARD

         District Courts within this Circuit hold that the standards for granting a temporary restrain-

 ing order and a preliminary injunction are identical. See Emerging Vision, Inc. v. Glachman, Case

 No. 10-cv-80734, 2010 WL 3293346, at *3 (S.D. Fla. June 29, 2010) (citing Siegel v. LePore,

 120 F. Supp. 2d 1041 (S.D. Fla. 2000) aff’d 234 F.3d 1163 (11th Cir. 2000)). In order to obtain a

 temporary restraining order or a preliminary injunction, a party must establish “(1) a substantial

 likelihood of success on the merits; (2) that irreparable injury will be suffered if the relief is not

 granted; (3) that the threatened injury outweighs the harm the relief would inflict on the non-

 movant; and (4) that entry of the relief would serve the public interest.” Schiavo ex rel. Schindler

 v. Schiavo, 403 F.3d 1223, 1225-26 (11th Cir. 2005); see also Levi Strauss & Co. v. Sunrise Int’l




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 Trading Inc., 51 F.3d 982, 985 (11th Cir. 1995) (affirming entry of preliminary injunction and

 freezing of assets).

         When determining whether to grant a preliminary injunction, the court takes “all of the

 well-pleaded allegations in a movant's complaint and uncontroverted affidavits filed in support of

 the motion for preliminary injunction” as true.” Alabama v. United States Dep't of Commerce,

 546 F.Supp.3d 1057, 1063 (M.D. Ala. 2021) (quoting Elrod v. Burns, 427 U.S. 347, 350 n.1

 (1976)). “Additionally, the court may consider supplemental evidence, including hearsay, sub-

 mitted by the parties.” Id. (citing Levi Strauss & Co. v. Sunrise Int'l Trading, Inc., 51 F.3d 982,

 985 (11th Cir. 1995)).

                         ARGUMENTS AND MEMORANDUM OF LAWS
 A. Plaintiff Will NOT Likely to Succeed on Its Claims.

    1. Plaintiff Will Not Likely Succeed on Its Copyright Infringement Claim.

        a. Defendant Did Not Infringe the Alleged Copyright; The Infringer Shall be Plain-
 tiff Once Fleerose’ Patent Becomes Effective on April 30, 2024.

         With the idea of the picture a normal hip seat baby carrier, Defendant also registered its

 own copyright with US Copyright Offices, with Copy Right No. VAu 1-512-372. A copy of the

 copyright is attached as Exhibit “C” herein. Defendant also used different trademark “Fleerose”1

 that is completely different from Plaintiff’s logo Tushbaby, in terms of color, shape and size. The

 comparison of the two pictures of Tushbaby and Fleerose are demonstrated as below Figure 1,

 which demonstrates sharp difference between the two.




 1 See Exhibit “D,” Liu’s Decl., ¶ 3.



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                                      Tushbaby               Fleerose




                             Figure 1: Comparison of Tushbby and Fleerose Products.

             More importantly, Fleerose registered its design patent with the USPTO for the above

     product with Patent No. D1024542 that will be issued on April 30, 2024. A copy of the patent

     Issue Notification is attached as Exhibit “E.” The design patent made the following key exterior

     claims:2



                                            Figure 2: Claim of Patent for Hip Seat and Adjacent Pouch of
                                            Patent No. D1024542.




                                                     Figure 3: Claim of Patent for Pouch of Hip Seat
                                                     Baby Carrier




     2 See Exhibit “F,” for the claims of design patent of US Design Patent No. D102,454,2.



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         As will be analyzed below, the copyright of a product does not protect the intellectual

 property of the copyright as the product images of a hip seat baby carrier look the same or simi-

 lar at least fro all manufactuers. The copyright laws only protect the expression of idea, which

 instills the packaging or advertising an inherent distinctiveness and second meaning. Plaintiff’s

 product does not instill inherent distinctive and second meaning, as will be analyzed below.

 Meanwhile, Fleerose will have its design patent on the hip seat baby carrier on the day of the

 hearing for preliminary injunction in the instant case on April 30, 2024. On that day, the infringer

 of the intellectual property of the hip seat is Plaintiff, not vice versa, as we have given due notice

 to Plaintiff.

         b. No Due Notice of Copyright Was Provided by Plaintiff.

         “The legislative history of the Copyright Act of 1976 emphasizes the benefits of requiring

 copyright owners to display a notice of copyright on their published works.” Donald Frederick

 Evans v. Continental Homes, 785 F.2d 897, 905 (11th Cir. 1986), citing H.R. Rep. No. 1476,

 94th Cong., 2d Sess. 143, reprinted in 1976 U.S. Code Cong. Ad.News 5659, 5759 [hereinafter

 cited as House Report]. “[A] copyrighted work published without the prescribed notice of copy-

 right displayed was not protected. Id. “Upon such publication, a work entered the public

 domain.” Id.

         In the instant case, Plaintiff did not display any notice on their published works that al-

 legedly registered copyrights with the U.S. Copyright Offices. See Exhibit “A” for the webpage

 printout of their copyrighted product at-issue, available at https://tushbaby.com/products/tushba-

 by?variant=15109665390658, last visited April 24, 2024; see also Exhibit “B” for their copy-




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 righted product at-issue on Amazon.3 See Exhibit “D,” Jianyin Liu’s Declaration in Support of

 Opposition to Motion for TRO. Thus, even if any pictures allegedly were registered with copy-

 rights, such copyrights are not protected as Plaintiff failed to provide any notices to Defendant.

        c. Plaintiff’s Alleged Copyrights Are Stock Scenes.

        All baby hip seat baby carriers look the same. A hip seat baby carrier would always in-

 volve a small comfortable place for the baby to sit on, typically in round shape for comfort pur-

 pose, a strap to wrap around mom or dad’s waist and a few pockets to stuff in diapers, milk bot-

 tles, or necessities for babies. “Copyrighted works are only granted protection to the extent of a

 particular expression of an idea; the idea itself is not protected.” Evans v. Wallace Berrie Co.,

 Inc., 681 F. Supp. 813, 817 (S.D. Fla. 1988), citing Landsberg v. Scrabble Crossword Game

 Players, Inc.,736 F.2d 485, 488 (9th Cir.), cert. denied,469 U.S. 1037, 105 S.Ct. 513 83 L.Ed.2d

 403 (1984); Reyher,533 F.2d at 90; Original Appalachian Artworks, Inc.,684 F.2d at 829 n. 11.

 The court held that “[b]oth Plaintiff's story and Defendants' story involve an underwater world.”

 Evans v. Wallace Berrie Co., Inc., 681 F. Supp. 813, 817 (S.D. Fla. 1988). “Such similarities as

 using a sand dollar as currency, foods made of seaweed, seahorses for transportation and plates

 made of oyster or mother of pearl are not protected similarities of expression, but are more accu-

 rately characterizations that naturally follow from the common theme of an underwater civiliza-



 3  Available at https://www.amazon.com/TushBaby-Only-Safety-Certified-Carrier/dp/B07R4C4VFX/
 ref=sr_1_1_sspa?dib=eyJ2IjoiMSJ9.2IAs9BX8bchqwENslhMlo0ZRZvFpWTGSQS22SylWR-
 L0wy009wWJKxtt_W-QFIIgfPBcBGYsn74Rob4qAJ8bL3aNkzUJY3Tp2LbtMZAbyiHNM1ZOAAdvZ-
 iX3nhaQRg7IF0lFANCcruBDthGpqD153t9pk3vNCnWbiu-zZPoA9xn61NyFbVYhJ0Ytn5QemQnf3S-
 Gfso5ABYgp0FlmaCafS_ACJUIUw3rKB6gl7vyr4qLLckT9V2i4-on-X2JCwQDEpwIiAzvGU1jOh-
 CImVRQGFscwXTUUhPD-_xL0TM_ud8ps.Hie-39nrMTnA6GnNZvCdewqGpJthtSFANcy-
 S2xL5jA&dib_tag=se&hvadid=518694419905&hvdev=c&hvlocphy=9052632&hvnetw=g&hvqmt=b&h
 vrand=17703052297083271869&hvtargid=kwd-548361581697&hydadcr=7289_11104361&keywords=t
 ushbaby+hip+carrier&qid=1713992286&sr=8-1-spons&sp_csd=d2lkZ2V0TmFtZT1zcF9hdGY&psc=1,
 last visited April 24, 2024.

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 tion. Id., citing Reyher, 533 F. 2d at 91 ("Copyrights . . . do not protect thematic concepts or

 scenes which necessarily must follow from certain similar plot situations.”) Evans v. Wallace

 Berrie Co., Inc., 681 F. Supp. 813, 817 (S.D. Fla. 1988).

        In the instant case, the pictures, depicting the hip seat baby carrier, if any, are no more

 than an idea, which is not protectable under copyright laws. Only the expression of ideas, namely

 the distinctive expression of ideas are protected by the laws.

 2. Plaintiff Will Not Likely Succeed on Its False Designation of Origin Claim.

       a. All Claimed Configuration Are Functional and No Color Combination Was
 Copied.

        Plaintiff claimed that the “distinctive rounded pouch with a logo centered on the front,

 black wrap around straps with various neutral colors for the outer shell material, and the configu-

 ration of the pockets - are non-functional and arbitrary.” See Plaintiff’s Motion for TRO, ECF

 No. 9, p. 19, ¶ 1. The round pouch is naturally attached to the hip seat, to be utilized as a pocket

 for baby necessities and wrap shall be a must for wrapping around a person's waist. The rest

 pockets shall be for milk bottle and napkins, so on and so forth. All such features/configuration

 are functional.




        Figure 4. Defendant Fleerose’s Product



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                                                                   Figure 5. Plaintiff’s Product




         From Figure 4 and 5, it is evident that Defendant Fleerose did not use the color combi-
  nation of that of Plaintiff. There are obvious difference between the two products, to name a
  few:
     i. Fleerose used dark/black color material for the product and the hip seat and Plaintiff use
         light grayer his/her product;
     ii. Fleerose used black color for the hip seat while Plaintiff used brown or yellowish color;
     iii. Fleerose’s hip seat is made of small protruding rounded shape dots to add more traction to
         the hip seat, which is claimed in its patent application No. 29/911,444 and will be issued
         on April 30, 2024;4
     iv. Fleerose used a plastic pad as hip seat while Plaintiff used cloth as material for the hip
         seat;
     v. Plaintiff’s logo is embroidered onto the cloth, Fleeroe used a rectangular plastic material
         sewed onto the front pocket.
        b. Plaintiff’s Product Design Was Not Distinctive and Defendant Did Not Copy Its
  Design.

         In Hyman v. Nationwide Mut. Fire Ins. Co., 304 F.3d 1179, 1189 (11th Cir. 2002), the

  court explained about trade dress:

   We have no trouble finding that a product's trade dress may fall within the definitions of "ad-
    vertising idea" or "style of doing business." Trade dress is defined as "the total image of a
    product and may include features such as size, shape, color or color combinations, textures,

 4 See Exhibit “E.”



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    graphics, or even particular sales techniques."John H. Harland Co. v. Clarke Checks,
    Inc.,711 F.2d 966, 980 (11th Cir. 1983) (citations omitted). Thus, while "the classic trade
    dress infringement action involved the packaging or labeling of goods," Epic Metals,99
    F.3d at 1038, it may "extend to marketing techniques" and can include certain "sales tech-
    nique[s] designed to make the product readily identifiable to consumers and unique in the
    marketplace," Original Appalachian Artworks, Inc. v. Toy Loft, Inc.,684 F.2d 821, 831 (11th
    Cir. 1982) (finding that the "adoption procedures and birth certificates" given with particu-
    lar dolls were protectable trade dress).

 Hyman v. Nationwide Mut. Fire Ins. Co., 304 F.3d 1179, 1189 (11th Cir. 2002).

        In Carillon Importers v. Frank Pesce Group, 913 F. Supp. 1559, 1563 (S.D. Fla. 1996),

 the court explained:

    In a trade dress infringement case, likelihood of success on the merits requires proof to a
    preponderance of the evidence that (1) the trade dress is inherently distinctive or has ac-
    quired secondary meaning; (2) it is primarily non-functional; and (3) the defendant's trade
    dress is confusingly similar. Bauer Lamp Co. v. Shaffer,941 F.2d 1165, 1170 (11th Cir.
    1991); AmBrit, Inc. v. Kraft, Inc.,812 F.2d 1531, 1535 (11th Cir. 1986), cert. denied,481
    U.S. 1041, 107 S.Ct. 1983, 95 L.Ed.2d 822 (1987). The last prong of the test is the most
    important and is also referred to as the "likelihood of confusion." See AmBrit,812 F.2d at
    1538.

 Carillon Importers v. Frank Pesce Group, 913 F. Supp. 1559, 1563 (S.D. Fla. 1996). It continued
 to explain:

      Distinctiveness is measured along an increasing scale: (1) generic; (2) descriptive; (3)
     suggestive; (4) arbitrary; or (5) fanciful. Two Pesos,505 U.S. at 767, 112 S.Ct. at 2757
     (citation omitted). This characterization adapts the standards for distinctiveness under
     trademark law to the context of trade dress law. Id. Under this approach, to be inherently
     distinctive the trade dress must be more than merely descriptive. Two Pesos,505 U.S. at
     767, 112 S.Ct. at 2757. For example, an advertisement with four boxes labeled north,
     south, east, and west, each containing the locations and phone numbers of different
     branches of the advertiser in those quadrants of the city, is not inherently distinctive be-
     cause it is merely descriptive. Blau Plumbing, Inc. v. S.O.S. Fix-It, Inc.,781 F.2d 604, 609
     (7th Cir. 1986) (applying the same analysis endorsed in Two Pesos); see also AmBrit,812
     F.2d at 1537 n. 20, 23 (citations omitted). As a rule, the more arbitrary the design, the
     more inherently distinctive the trade dress.

 Carillon Importers v. Frank Pesce Group, 913 F. Supp. 1559, 1563 (S.D. Fla. 1996).



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          In the instant case, similar to the the descriptive advertisement of the boxes example in

 Carillon Importers, the logo of Plaintiff’s product is no more than descriptive. The alleged “dis-

 tinctive rounded pouch with a logo centered on the front”5 was not an arbitrary design as it is an

 ancillary part to the hip seat. Placing the logo at the center is not distinctive. Most logos are

 placed at the center of the front. All the neutral color combination, can not be distinctive.“[C]ases

 in the Eleventh Circuit also evaluate distinctiveness in terms of (1) whether a shape or design is

 common….” Id. The shape of rounded seat for a hip seat baby carrier are commonly rounded

 because it is comfortable for baby to sit on. Thus, the ancillary pouch shall be of the rounded

 shape.

          “As a matter of policy, color alone is not protected as trade dress, unless it has acquired a

 secondary meaning.” Id. Thus, Plaintiff’s argument that it selected neutral color for its product

 did not amount to a trade dress, as the neutral color does not acquire any secondary meaning for

 a baby hip seat baby carrier. Besides, Fleerose did not adopt the choices of such neutral colors to

 its products.

          Thus, Plaintiff’s product design does not meet the criteria of inherent distinctiveness and

 second meaning.

          c. No Likely Confusion.

          Plaintiff concluded that Defendants’ product might cause confusion to consumers. How-

 ever, Plaintiff failed to compare Fleerose’s product with Tushbaby in the Motion for TRO [DE

 9]. With the analysis above, a reasonable consumer shall not be confused between the two prod-




 5 See Motion for TRO [DE 9], p. 18, ¶ 1.



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  ucts, bearing in mind that all hip seat baby carriers look the same, with the clear logo and color

  combination difference.

          d. Strength of Trade Dress

          Given the analysis above, Plaintiff’s trade dress, firstly, if any, was infringed by Fleerose.

  Secondly, the trade dress does not have any inherent distinctiveness and/or second meaning.

  Thus, it is unlikely Plaintiff will succeed in its claims of trade dress.

          WHEREFORE, Defendant Fleerose, by and through its counsel undersigned, requests

  that this Court dissolve the TRO and deny Plaintiff’s application to the entry of a preliminary

  injunction against Fleerose.


          Respectfully submitted on April 29, 2024.




                                                     /s/ Jianyin Liu
                                                     FBN: 1007675
                                                     Jianyin Liu, Esq. Attorney
                                                     The Law Offices of James Liu, LLC
                                                     15750 SW 92nd Ave Unit 20C
                                                     Palmetto Bay, FL 33157
                                                     Ph: (305) 209 6188
                                                     Email: jamesliulaw@gmail.com
                                                     Counsel for Defendant Shiaon

                                    CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true copy of the foregoing was sent to all parties via CM/
  ECF on this April 29, 2024.

                                                     /s/ Jianyin Liu




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